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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JASON LEOPOLD AND             )
BUZZFEED INC.                 )
               Plaintiffs,    )
                              )                       Civil Action No. 1:19-CV-01279-TJK
      v.                      )
                              )
DEPARTMENT OF JUSTICE,        )
ET AL.                        )
                  Defendants. )
______________________________)


                             SIXTEENTH JOINT STATUS REPORT

       In accordance with the Court’s Minute Order on May 14, 2021, requiring the parties to

file a further joint status report every 60 days, and the parties’ Fifteenth Joint Status Report, the

parties report as follows:

       1.        This is a Freedom of Information Act (“FOIA”) case in which Plaintiffs Jason

Leopold and Buzzfeed, Inc., seek records from various subcomponents of the U.S. Department

of Justice (“DOJ”),1 as well as the Office of the Director of National Intelligence (“ODNI”)

(collectively, the “Government”) generally regarding various aspects of the Mueller

investigation.

       2.        Plaintiffs’ Complaint, see ECF No. 1, contains allegations related to twenty-four

different FOIA requests, many of which include multiple subparts, originally submitted to

numerous DOJ subcomponents and ODNI. See Answer at Exs. A-EEE, ECF No. 15.




1
  Including the Offices of the Attorney General (“OAG”), the Deputy Attorney General
(“ODAG”), and the Special Counsel (“OSC”), as well as the Federal Bureau of Investigation
(“FBI”), the National Security Division (“NSD”), the Office of Legal Counsel (“OLC”), and the
Office of the Inspector General (“OIG”).
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       3.      The first half of the twenty-four requests identified in the Complaint, see Compl.

¶¶ 6-59, are being addressed by DOJ’s Office of Information Policy (“OIP”); four others were

directed to the FBI, see id. ¶¶ 78-83, 91-96, 101-107, and 108-113; and two requests were

directed at each of the following: NSD, see id. ¶¶ 60-63 and 72-77; OIG, see id. ¶¶ 64-67 and

87-90; OLC, see id. ¶¶ 68-71 and 114-116; and ODNI, see id. ¶¶ 84-86 and 97-100.

       4.      The parties have filed fifteen previous Joint Status Reports. In the First JSR, filed

on August 5, 2019, Defendants reported on the status of their searches and provided schedules

for the anticipated completion dates for those searches. See ECF No. 16. In the subsequent

fourteen JSRs, the last of which was filed on March 18, 2022, Defendants updated those

schedules. See ECF Nos. 18, 20, 21, 22, 23, 30, 31, 32, 33, 34, 35, 37, and 39. Defendants

continue to work on the various requests at issue and provide the following updates:

               a. OIP

                        i. OIP has provided an interim response to Plaintiffs for half of the

                           requests submitted to it as relevant to this litigation, specifically:2

                               1. Request No. DOJ-2019-003142, see Compl. ¶¶ 14-18 and

                                   Answer ¶¶ 14-18 & Exs. E-F, on September 6, 2019;

                               2. Request No. DOJ-2019-003213, see Compl. ¶¶ 19-23 and

                                   Answer ¶¶ 19-23 & Exs. G-H, on September 6, 2019;

                               3. Request No. DOJ-2019-003282, see Compl. ¶¶ 24-28 and

                                   Answer ¶¶ 24-28 & Exs. I-J, on October 7, 2019;




2
 DOJ OIP uses the term “interim response” in this JSR to mean “not final” as to all requests to
DOJ OIP at issue in this litigation. But, with respect to the particular request identified, the
“interim response” is “final” for that particular request.


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                             4. Request No. DOJ-2019-001660, see Compl. ¶¶ 48-51 and

                                 Answer ¶¶ 48-51 & Exs. S-T, on October 7, 2019;

                             5. Request No. DOJ-2019-003135, see Compl. ¶¶ 39-43 and

                                 Answer ¶¶ 39-43 & Exs. O-P, on December 20, 2019; and

                             6. Request No. DOJ-2018-007532, see Compl. ¶¶ 52-55 and

                                 Answer ¶¶ 52-55 & Exs. U-V, on February 20, 2020.

                      ii. Regarding the remaining half of the requests submitted to OIP as

                          relevant to this litigation, the parties agreed to the following schedule

                          for proceeding forward. Defendants have updated the below to

                          indicate their progress:

                             1. Before continuing to process its own requests,3 OIP agreed to

                                 process those records referred to it by March 31, 2020, from

                                 other DOJ subcomponents regarding requests that are the

                                 subject of this litigation. At the time, OIP had received

                                 approximately 655 pages of records referred to it by FBI, OIG,

                                 NSD, and OLC. OIP agreed to first process records referred to

                                 it by the FBI by April 30, 2020. OIP did so and provided

                                 Plaintiffs with a Fifth Interim Response on April 30, 2020.

                                 OIP also agreed to process 150 pages of records per month for




3
  By “process,” OIP means completing its internal review of pages containing records responsive
to each request. OIP cannot guarantee that any pages requiring consultation from other DOJ
components or Executive Branch agencies will be completed in the same month that OIP finishes
processing a response. Any pages that do not require consultation, as well as those pages for
which the consultation has been completed, will be provided to Plaintiffs on the given production
date (including a count of any pages that are withheld in full).
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                   the months of May and June, 2020. In accordance with its

                   agreement, OIP provided Plaintiffs with its Sixth Interim

                   Response on May 29, 2020 and provided Plaintiffs with its

                   Seventh Interim response on June 30, 2020. The parties agreed

                   to reassess this processing rate by June 30, 2020. Prior to June

                   30, OIP, via counsel, informed Plaintiffs that nothing had

                   changed in the last three months to permit OIP to increase its

                   processing rate. In the parties’ Fifth JSR, OIP agreed to

                   process 150 records for the months of July and August. In

                   accordance with the Fifth JSR, OIP provided Plaintiffs with its

                   Eighth Interim Response on July 30, 2020, and its Ninth

                   Interim Response on August 31, 2020. In the parties’ Sixth

                   JSR, OIP noted that it had received additional referrals from

                   OIG after May 2020, totaling 465 pages, and that it planned to

                   use its best efforts to process those pages at the rate of 150

                   pages per month. Under such a schedule, OIP projected that it

                   would finish processing those referred pages by the end of

                   December 2020. In the parties’ Seventh JSR, OIP noted that it

                   had provided Plaintiffs with its Tenth Interim Response on

                   September 30, 2020, and its Eleventh Interim Response on

                   October 30, 2020, and that OIP was still on schedule to finish

                   processing the pages referred to it by OIG by the end of

                   December 2020. In the parties’ Eighth JSR, OIP stated that it



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                   had provided Plaintiffs with its Twelfth Interim Response on

                   November 30, 2020, and its Thirteenth Interim Response on

                   December 31, 2020. With its Thirteenth Interim Response,

                   OIP had processed all records referred to OIP by OIG as of

                   January 15, 2021. OIP also reported that on December 7, 2020

                   and January 7, 2021, OLC referred records to OIP for

                   processing. In the parties’ Ninth JSR, OIP stated that it had

                   provided Plaintiffs with its Fourteenth Interim Response on

                   January 29, 2021 and its Fifteenth Interim Response on

                   February 26, 2021. In the parties’ Tenth JSR, OIP stated that it

                   had provided Plaintiffs with its Sixteenth Interim Response on

                   March 31, 2021, and its Seventeenth Interim Response on

                   April 30, 2021. OIP additionally reported that it had received

                   referrals from OLC on February 8, 2021, March 8, 2021, April

                   9, 2021, and May 11, 2021, and agreed to continue to use its

                   best efforts to process those records on a monthly basis. In the

                   parties’ Eleventh JSR, OIP stated that it had provided Plaintiffs

                   with its Eighteenth Interim Response on June 1, 2021, and its

                   Nineteenth Interim Response on July 1, 2021, and that it had

                   received additional referrals from OLC, including on June 9,

                   2021, and July 9, 2021, and agreed to continue to use its best

                   efforts to process those records on a monthly basis. In the

                   parties’ Twelfth JSR, OIP stated it had provided Plaintiffs with



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                                 its Twentieth Interim Response on July 30, 2021 and its

                                 Twenty-First Interim Response on September 8, 2021, and that

                                 it had completed processing the referrals it received from OLC,

                                 except for certain pages pending consultation with other

                                 Department components and/or Executive Branch agencies.

                                 OIP stated that it would provide a response on these pages once

                                 the consultation process is completed.

                                    a. Update: in its Twelfth Interim Response letter dated

                                        November 30, 2020, OIP informed Plaintiffs that fifty-

                                        nine (59) pages were pending consultation with another

                                        DOJ component. On November 23, 2021, in its

                                        Twenty-Fourth Interim Response, OIP notified

                                        Plaintiffs that the consultations were complete and

                                        provided its response on those pages to Plaintiffs.

                             2. With step 1 complete, OIP has moved on to process records

                                 responsive to Request Nos. DOJ-2019-001757 & 58, see

                                 Compl. ¶¶ 7 & 10 and Answer ¶¶ 7 & 10, each of which

                                 contain five subparts.4 OIP completed its initial search for

                                 those requests, which resulted in 747 potentially responsive

                                 documents. OIP provided Plaintiffs with its Twenty-Second



4
 Plaintiffs mistakenly identified the number assigned to the request submitted to DOJ on March
28, 2019, see Compl. ¶ 10, as DOJ-2019-003320. Plaintiffs have confirmed that the correct
numbers assigned to the substance of the requests alleged in Paragraph 10 of the Complaint are
DOJ-2019-001757 & 58, see Compl. ¶ 7. See also Answer Exs. A-1, A-2.

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                   Interim Response on September 30, 2021, and its Twenty-

                   Third Interim Response on October 29, 2021. OIP has now

                   completed its processing of step 2, with the exception of 58

                   pages that are still pending consultation with other Department

                   components. OIP will provide a response on these pages once

                   the consultation process is completed.

                3. With step 2 almost complete pending the consultation

                   referenced above, OIP moved on to process records responsive

                   to Request No. DOJ-2018-007535 (subsuming 008221,

                   008222, 008223, & 008224) see Compl. ¶¶ 56-59 and Answer

                   ¶¶ 56-59 & Exs. W-X. OIP completed its initial search for this

                   request, which resulted in 592 potentially responsive

                   documents. OIP determined that 267 pages contained

                   responsive records. On January 4, 2022, OIP provided

                   Plaintiffs with its Twenty-Fifth Interim Response in which it

                   released twenty-five (25) pages with redactions, eliminated five

                   pages as duplicative, and informed Plaintiffs that the remaining

                   237 pages are pending consultation with another DOJ

                   component. OIP will provide a response on these pages once

                   the consultation process is completed.

                4. With step 3 almost complete pending the consultation

                   referenced above, OIP will next process records responsive to

                   Request No. DOJ-2019-000783, see Compl. ¶¶ 44-47 and



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                   Answer ¶¶ 44-47 & Exs. Q-R. OIP has completed its initial

                   searches for 8 of the 24 terms set forth in the request (Plaintiffs

                   have agreed to drop the remaining 16 terms from its request,

                   contingent upon the parties reaching an agreement on a

                   reasonable processing rate). OIP has identified 548 potentially

                   responsive records, containing 3,843 potentially responsive

                   pages. On March 4, 2022, OIP provided Plaintiffs with its

                   Twenty-Sixth Interim Response in which it stated that it had

                   processed 306 pages of responsive records, released 260 pages

                   with redactions, withheld 25 pages in full, and sent 21 pages

                   for consultation with another DOJ component and/or Executive

                   Branch agency. On March 31, 2022, OIP provided Plaintiffs

                   with its Twenty-Seventh Interim Response in which it stated

                   that it had processed 293 pages of responsive records, released

                   172 pages with redactions, sent 119 pages for consultation with

                   another DOJ component and/or Executive Branch agency, and

                   deemed 2 pages as duplicative. On May 2, 2022, OIP provided

                   Plaintiffs with its Twenty-Eighth Interim Response in which it

                   stated that it had processed 597 pages of responsive records,

                   released 591 pages with redactions, and sent 6 pages for

                   consultation with another DOJ component and/or Executive

                   Branch agency. OIP will continue to process pages responsive




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                   to this request on a monthly basis and as the consultation

                   process allows.

                5. Once step 4 is complete, OIP will next process records

                   responsive to the three subparts of Request No. DOJ-2019-

                   003295, see Compl. ¶¶ 29-33 and Answer ¶¶ 29-33 & Exs. K-L

                   5. OIP has completed its initial search for those requests. The

                   search resulted in 64,610 potentially responsive documents for

                   subpart 1, 43,124 potentially responsive documents for subpart

                   2, and 5,279 potentially responsive documents for subpart 3,

                   but these results do not reflect de-duplication or elimination of

                   press clippings or other such records that Plaintiffs have agreed

                   to eliminate. (Plaintiffs have also agreed to drop subpart 1

                   from its request and to limit subpart 2 to a cutoff date of April

                   18, 2019, instead of the date of the search, contingent upon the

                   parties reaching an agreement on a reasonable processing

                   rate.).

                6. Once step 5 is complete, OIP will next process records

                   responsive to Request No. DOJ-2019-003452, see Compl. ¶¶

                   34-38 and Answer ¶¶ 34-38 & Exs. M-N, which has three

                   subparts. OIP has completed its initial searches for subparts 1

                   and 2. Those initial searches have returned volumes of 8,117

                   potentially responsive documents (subpart 1) and 58,959

                   potentially responsive documents (subpart 2), but these results



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                        do not reflect de-duplication or elimination of press clippings

                        or other such records that Plaintiffs have agreed to eliminate.

                        (Plaintiffs have also agreed to limit subpart 2 to a cutoff date of

                        April 18, 2019, instead of the date of the search, contingent

                        upon the parties reaching an agreement on a reasonable

                        processing rate.) The search for subpart 3 was completed on

                        the date of this filing and returned 194,466 documents, but

                        these results do not reflect de-duplication or elimination of

                        press clippings or other such records that Plaintiffs have agreed

                        to eliminate. The parties will meet and confer about the scope

                        of subpart 3 of this request.

     b. FBI

              i. With respect to the four requests directed at the FBI, the FBI

                 completed its search and provided a response on January 31, 2020,

                 with one exception:

                     1. For Request No. 1368241-000, see Compl. ¶¶ 78-83 and

                        Answer ¶¶ 78-83 & Exs. HH-KK, the FBI anticipated

                        reviewing approximately 500 potentially responsive pages per

                        month, with the first production of any responsive, non-exempt

                        records on March 31, 2020. However, as previously reported,

                        due to the COVID-19 virus, the FBI’s FOIA processing

                        section, the Record/Information Dissemination Section

                        (“RIDS”), ceased processing on March 17, 2020. On April 29,



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                                 2020, RIDS resumed operations on a very limited basis. By

                                 letter dated May 29, 2020, the FBI processed 35 pages and

                                 released the non-exempt portions thereof to Plaintiffs. On June

                                 8, 2020, RIDS resumed full operations. By letter dated June

                                 30, 2020, the FBI processed 164 pages and released the non-

                                 exempt portions thereof (7 pages). The FBI had anticipated

                                 completing its processing for this litigation by September 30,

                                 2020. However, during the processing of the responsive

                                 records, the FBI identified an additional, potentially responsive

                                 record, and determined that further searching was required.5

                                 Meanwhile, on September 18, 2020, the FBI processed 41

                                 pages and released the non-exempt portions thereof (28 pages).

                                 In the Seventh JSR, the FBI agreed to use its best efforts to

                                 complete its responsiveness review by November 30, 2020, and

                                 to thereafter assess the results and suggest a processing

                                 schedule to Plaintiffs. In the Eighth JSR, the FBI reported that

                                 on November 30, 2020, the FBI informed Plaintiffs that it had

                                 finished its responsiveness review and identified a potentially

                                 responsive page count estimated to be approximately 350

                                 pages, which may fluctuate in the course of processing. The

                                 FBI proposed to use its best efforts to complete this processing




5
  The FBI has since completed the additional searching and reviewed the results for
responsiveness.
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                   by February 26, 2021. However, on December 7, 2020, in

                   response to the resurgence of COVID-19, the FBI FOIA office

                   reduced its staffing by approximately 50%. Due to this

                   reduction in staffing, the FBI reported that it anticipated

                   processing approximately 175 pages of records by February 26,

                   2021, and processing the remainder by March 30, 2021.

                2. On February 26, 2021, the FBI notified Plaintiffs that it had

                   processed 179 pages and was releasing to Plaintiffs 18 pages of

                   records with redactions. On March 31, 2021, the FBI notified

                   Plaintiffs that it had completed processing the remaining 168

                   pages and was releasing 7 pages of records with redactions.

                   The FBI sent some of the records it had processed for

                   consultation to other government agencies. On April 30, 2021,

                   FBI notified Plaintiffs that it had received a portion of those

                   records back and released one page to Plaintiffs with

                   redactions. On August 31, 2021, the FBI notified Plaintiffs

                   that it had received another portion of those records back from

                   consultation, had processed 65 pages and were withholding all

                   in full. As of the filing of the parties’ Twelfth JSR, the FBI

                   was still awaiting the return of 16 pages of records it sent for

                   consult. On October 29, 2021, the FBI notified Plaintiffs that it

                   had completed processing ten of the sixteen pages and was

                   releasing one of those ten pages with redactions. The FBI



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                   reported that it had received the other six pages and anticipated

                   completing its processing of those pages by the end of this

                   March 2022. Further, FBI reported having received 127 pages

                   that it had previously sent out for consult and neglected to

                   account for in previous JSRs. FBI anticipated that it could

                   complete this processing by the end of March 2022.

                3. On October 15, 2021, the FBI received 94 pages directly

                   referred from OIG for processing. FBI identified some

                   possible remaining OIG equities and has consulted with OIG to

                   address those concerns. The FBI anticipated that it could

                   complete this processing by the end of May 2022.

                       a. Update: on April 11, 2022, the FBI notified Plaintiffs

                           that it had completed its processing of Request No.

                           1368241-000. With that release, the FBI notified

                           Plaintiffs that it had reviewed 133 pages and released

                           45 pages with redactions, withholding the remainder in

                           full.

                4. The FBI has completed processing all records responsive to the

                   requests directed at it in this litigation. It has received a

                   tranche of records totaling 62 pages from OIP on consultation

                   and anticipates completing the consultation by the end of June,

                   whereupon those records will be returned to OIP for final

                   processing. To the extent the FBI receives from the other



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                     Defendants in this litigation any potentially responsive records

                     on consultation or as a direct referral, it will process those

                     records in due course.

     c. DOJ NSD

           i. DOJ NSD Request No. PA 18-125, see Compl. ¶¶ 60-63 and Answer

             ¶¶ 60-63 & Exs. Y-Z:

                  1. DOJ NSD completed its search and provided interim responses

                     on October 31, 2019, December 23, 2019, and February 21,

                     2020. NSD referred 125 pages to DOJ OIP on March 27,

                     2020. OIP processed 29 pages and released all nonexempt

                     portions thereof (4 pages) to Plaintiffs on July 30, 2020 as part

                     of its Eighth Interim Response. OIP processed the remaining

                     96 pages and release all nonexempt portions thereof (42 pages)

                     as part of its Ninth Interim Response on August 31, 2020.

                     NSD issued its final response to Plaintiffs on October 30, 2020.

          ii. DOJ NSD Request No. PA 18-317, see Compl. ¶¶ 72-77; Answer

             ¶¶ 72-77 & Exs. EE-GG:

                  1. NSD issued a final response to Plaintiffs on October 15, 2019.

     d. DOJ OLC

           i. DOJ OLC No. FY18-192, see Compl. ¶¶ 68-71; Answer ¶¶ 68-71 and

             114-116 & Exs. CC-DD:

                  1. This request seeks a subset of the records sought in part 1 of

                     Request No. FY19-127, addressed below.



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          ii. DOJ OLC No. FY19-127, Compl. ¶¶ 114-116; Answer ¶¶ 114-116 &

             Exs. DDD-EEE:

                1. OLC has completed its initial search for records to both parts

                   of this request.

                2. OLC has identified records responsive to subpart 1 of the

                   request. OLC has processed these records, withholding some

                   in full and referring the remainder to DOJ OIP for its review as

                   of the date of this filing.

                3. OLC has identified more than 5,000 records potentially

                   responsive to subpart 2 of the request. OLC is processing the

                   resulting responsive records. On September 14, 2020, OLC

                   issued a partial response to Plaintiffs in which it stated that it

                   had processed 61 responsive documents, totaling 260 pages,

                   was releasing 33 documents totaling 65 pages, with redactions

                   pursuant to FOIA Exemptions 5 and 6, and was withholding in

                   full the remaining 28 documents totaling 195 pages pursuant to

                   Exemption 5. In the Seventh JSR, OLC noted that it was

                   continuing to process responsive records and would do so on a

                   monthly basis. In the Eighth JSR, OLC reported that on

                   December 7, 2020, it issued a partial response to Plaintiffs in

                   which it stated that it had processed 27 responsive documents,

                   totaling 306 pages, was withholding three documents totaling

                   eight pages in full pursuant to FOIA Exemption 5, and had



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                   referred 24 documents totaling 298 pages to OIP for direct

                   response to Plaintiffs. On January 7, 2021, OLC issued

                   another partial response to Plaintiffs in which it stated that it

                   had processed 57 responsive documents, totaling 342 pages,

                   was releasing 7 documents totaling 9 pages, with redactions

                   pursuant to FOIA Exemptions 5 and 6, and had referred the

                   remaining 50 responsive documents totaling 333 pages to OIP

                   for direct response to Plaintiffs. OLC agreed to continue to use

                   its best efforts to process responsive records on a monthly

                   basis.

                4. On February 7, 2021, OLC issued a partial response to

                   Plaintiffs in which it stated that it had processed 77 responsive

                   documents, totaling 230 pages, had referred 75 pages of the

                   responsive documents totaling 230 pages to OIP for direct

                   response to Plaintiffs, and had withheld the remaining two

                   responsive documents totaling 19 pages pursuant to FOIA

                   Exemption 5. On March 8, 2021, OLC issued a partial

                   response to Plaintiffs in which it stated that it had processed 65

                   responsive documents, totaling 234 pages, was releasing 2

                   documents totaling 3 pages, with redactions pursuant to FOIA

                   Exemptions 5 and 6, and had referred the remaining 63

                   responsive documents totaling 231 pages to OIP for direct

                   response to Plaintiffs. On April 9, 2021, OLC issued a partial



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                   response to Plaintiffs in which it stated that it had processed 50

                   responsive documents, totaling 143 pages, had referred 37

                   responsive documents totaling 110 pages to OIP for direct

                   response to Plaintiffs, and had withheld in full 13 documents

                   totaling 33 pages pursuant to FOIA Exemption 5. On May 11,

                   2021, OLC issued a partial response to Plaintiffs in which it

                   stated that it had processed 73 responsive documents, totaling

                   205 pages, and had referred all 205 pages to OIP for direct

                   response to Plaintiffs. On June 9, 2021, OLC issued a partial

                   response to Plaintiffs in which it stated that it had processed 47

                   responsive documents, totaling 158 pages, and had referred all

                   47 documents to OIP for direct response to Plaintiffs. On July

                   9, 2021, OLC issued a partial response to Plaintiffs in which it

                   stated that it had processed 19 responsive documents, totaling

                   165 pages, had referred 17 documents totaling 135 to OIP for

                   direct response to Plaintiffs, and had withheld in full 2

                   documents totaling 30 pages pursuant to FOIA Exemption 5.

                      a. OLC has completed its initial processing of records

                          potentially responsive to subpart 2 of the request. It is

                          awaiting receipt of thirty pages it sent for consultation

                          and will process those upon their return.

     e. DOJ OIG




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           i. DOJ-OIG No. 18-OIG-183, see Compl. ¶¶ 64-67 and Answer ¶¶ 64-67

             & Exs. AA-BB:

                 1. OIG completed its search for potentially responsive,

                    unclassified records and issued an interim response on

                    December 23, 2019. OIG then processed potentially

                    responsive, unclassified material and provided five productions

                    to OIP for pre-release review: 91 pages (sent on March 27,

                    2020), 82 pages (sent on May 14, 2020), 97 pages (sent on

                    June 26, 2020), 176 pages (July production, sent to OIP on

                    August 24, 2020, due to OIG deliberation) and 192 (sent

                    August 24, 2020), for a total of 638 pages. In the Eighth JSR,

                    OIG reported that it had completed additional processing steps

                    on all 638 pages after consultation with OIP and that OIP had

                    finalized the processing of all 638 pages. OIG agreed to

                    process a last tranche of 168 pages of potentially responsive,

                    unclassified material by the end of January 2021. OIG

                    processed the last tranche of 168 pages of potentially

                    responsive, unclassified material and provided it to OIP for

                    pre-release review on January 27, 2021. This concluded OIG’s

                    processing for unclassified material responsive to DOJ-OIG

                    No. 18-OIG-183.

                 2. OIG completed its search for potentially responsive, classified

                    records and found 94 pages classified at the Top Secret level.



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                                   OIG processed all 94 pages and sent them out for direct referral

                                   to the FBI. The FBI identified possible OIG equities remaining

                                   in those records and consulted further with OIG to address

                                   those concerns. OIG completed its additional review of its

                                   equities in the 94 pages and returned the materials to FBI for

                                   direct referral on February 17, 2022. OIG has finished

                                   processing this request.

                       ii. DOJ-OIG, No. 17-OIG-226, see Compl. ¶¶ 87-90; and Answer ¶¶ 87-

                           90 & Exs. NN-OO:

                               1. OIG provided a final response to Plaintiffs on July 14, 2017.

                                   See Answer at Ex. OO.

               f. ODNI

                        i. Regarding the two requests directed at ODNI, see Compl. ¶¶ 84-86

                           and 97-100; Answer ¶¶ 84-86 and 97-100 & Exs. LL-MM and TT-UU,

                           ODNI provided its final response to Plaintiffs on October 16, 2019.

       5.      In light of the parties’ ongoing discussions, and the Government’s continued

efforts to search for, review, process, and produce non-exempt records responsive to the requests

alleged in the Complaint, the parties believe it is premature to establish a briefing schedule for

this litigation. Instead, they will file another joint status report with the Court on July 20, 2022,

pursuant to the Court’s May 14, 2021, Minute Order.




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DATE: May 18, 2022                Respectfully submitted,
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